        Case:18-05288-ESL11 Doc#:114 Filed:02/20/19 Entered:02/20/19 17:34:52                               Desc: Main
                                    Document Page 1 of 4




                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF PUERTO RICO

IN RE: SKYTEC, INC                                              CASE NO: 18-05288 (ESL)
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 11




On 2/20/2019, I did cause a copy of the following documents, described below,
Order Conditionally Approving Disclosure Statement
Disclosure Statement
Exhibits A to D of the Disclosure Statement
Exhibit E to F of the Disclosure Statement
Exhibit G of the Disclosure Statement
Exhibit H of the Disclosure Statement
Exhibit I to J of the Disclosure Statement
Plan of Reorganization
Ballots for Classes 1, 2, and 3


to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 2/20/2019
                                                          /s/ Alexis Fuentes Hernandez
                                                          Alexis Fuentes Hernandez 217201
                                                          FUENTES LAW OFFICES, LLC
                                                          P.O. Box 9022726
                                                          San Juan, PR 00902-2726
                                                          787 722 5215
          Case:18-05288-ESL11 Doc#:114 Filed:02/20/19 Entered:02/20/19 17:34:52                                           Desc: Main
                                      Document Page 2 of 4




                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF PUERTO RICO

 IN RE: SKYTEC, INC                                                     CASE NO: 18-05288 (ESL)

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 11




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were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 2/20/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Alexis Fuentes Hernandez
                                                                            FUENTES LAW OFFICES, LLC
                                                                            P.O. Box 9022726
                                                                            San Juan, PR 00902-2726
        Case:18-05288-ESL11
PARTIES DESIGNATED AS "EXCLUDE" WEREDoc#:114    Filed:02/20/19
                                     NOT SERVED VIA               Entered:02/20/19
                                                    USPS FIRST CLASS MAIL             17:34:52 Desc: Main
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                            Document          Page 3 of 4
CASE INFO                               FIRST BANK PUERTO RICO                  LOGISTIC SYSTEMS INC
1LABEL MATRIX FOR LOCAL NOTICING        PO BOX 9146                             3000 PALMER
01043                                   SAN JUAN PR 00908-0146                  MISSOULA MT 59808-1671
CASE 18-05288-ESL11
DISTRICT OF PUERTO RICO
OLD SAN JUAN
WED FEB 20 12-01-19 AST 2019


                                        DEBTOR
ORIENTAL BANK                                                                   US TRUSTEE
PO BOX 11750                            SKYTEC INC                              US TRUSTEE
FERNANDEZ JUNCOS STATION                500 CARR 869                            EDIFICIO OCHOA
SAN JUAN PR 00910-2850                  SUITE 501                               500 TANCA STREET SUITE 301
                                        CATANO PR 00962-2011                    SAN JUAN PR 00901-1922




US BANKRUPTCY COURT DISTRICT OF PR      ATT MOBILITY PUERTO RICO INC            CANCIO NADAL RIVERA DIAZ PSC
JOSE V TOLEDO FED BLDG US COURTHOUSE    ATT SERVICES INC                        PO BOX 364966
300 RECINTO SUR STREET ROOM 109         KAREN A CAVAGNARO PARALEGAL             SAN JUAN PR 00936-4966
SAN JUAN PR 00901-1964                  ONE ATT WAY SUITE 3A104
                                        BEDMINSTER NJ 07921-2693




CARLOS A RODRIGUEZ VIDAL                CRIM                                    CANCIO NADAL RIVERA DAZ PSC
250 MUNOZ RIVERA AVE                    PO BOX 195378                           403 MUOZ RIVERA AVE
SAN JUAN PR 00918-1808                  SAN JUAN PR 00919-5387                  SAN JUAN PR 00918-3113




                                        EXCLUDE
CANCIO NADAL RIVERA DIAZ PSC                                                    FIRST BANK
403 MUOZ RIVERA AVE                     DEPARTMENT OF LABOR                     CONSUMER SERVICE CENTER
SAN JUAN PR 00918-3113                  SAN JUAN PR                             BANKRUPTCY DIVISION - CODE 248
                                                                                PO BOX 9146 SAN JUAN PR 00908-0146




FONDO DEL SEGURO DEL ESTADO             HENRY L BARREDA                         INTERNAL REVENUE SERVICE
OFICINA REGIONAL SJ                     500 CARR 869 SUITE 501                  PO BOX 7346
PO BOX 42006                            CATANO PR 00962-2011                    PHILADELPHIA PA 19101-7346
SAN JUAN PR 00940-2206




JUAN LORENZO MARTINEZ COLON             LOGISTICS SYSTEMS INC                   MIGUEL CARBONELL TORRES
600 BOULEVARD DE LA MONTANA APT 460     3000 PALMER STREET                      500 CARR 869 SUITE 501
SAN JUAN PR 00926-7121                  MISSOULA MT 59808-1671                  CATANO PR 00962-2011




MUNIPALITY OF CATANO                    MCGRATH RENTCORP DBA TRS RENTELCO       ORIENTAL BANK
PO BOX 428                              PO BOX 619260                           CO BETTY APONTE DELGADO
CATANO PR 00963-0428                    DFW AIRPORT TX 75261-9260               PO BOX 195115
                                                                                SAN JUAN PR 00919-5115




ORIENTAL BANK OF PR                     SAMUEL T BULL                           SOLYMAR CASTILLO MORALES
PO BOX 195115                           1111 THIRD AVE SUITE 3000               GOLDMAN ANTONETTI CORDOVA LLC
SAN JUAN PR 00919-5115                  SEATTLE WA 98101-3296                   250 AVE MUNOZ RIVERA SUITE 1500
                                                                                SAN JUAN PR 00918-1824
        Case:18-05288-ESL11
PARTIES DESIGNATED AS "EXCLUDE" WEREDoc#:114    Filed:02/20/19
                                     NOT SERVED VIA               Entered:02/20/19
                                                    USPS FIRST CLASS MAIL             17:34:52 Desc: Main
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                            Document       Page 4 of 4
TREASURY DEPARTMENT OF PUERTO RICO      TRS RENTELCO                            ALEXIS FUENTES HERNANDEZ
PO BOX 9022501                          PO BOX 619260                           FUENTES LAW OFFICES LLC
SAN JUAN PR 00902-2501                  DALLAS TX 75261-9260                    PO BOX 9022726
                                                                                SAN JUAN PR 00902-2726




MARISTELLA SANCHEZ RODRIGUEZ            MONSITA LECAROZ ARRIBAS
DELGADO FERNANDEZ LLC                   OFFICE OF THE US TRUSTEE UST
PO BOX 11750                            OCHOA BUILDING
FERNANDEZ JUNCOS STA                    500 TANCA STREET SUITE 301
SAN JUAN PR 00910-2850                  SAN JUAN PR 00901
